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        14
                                  UNITED STATES DISTRICT COURT
        15
                                CENTRAL DISTRICT OF CALIFORNIA
        16
                                         SOUTHERN DIVISION
        17
             In re QUALITY SYSTEMS, INC.           )   No. 8:13-cv-01818-CJC-JPR
        18                                         )
             SECURITIES LITIGATION                 )   CLASS ACTION
        19                                         )
                                                   )   LEAD PLAINTIFFS’ NOTICE OF
        20                                         )   MOTION AND UNOPPOSED MOTION
                                                   )
        21 This Document Relates To:               )   FOR (I) PRELIMINARY APPROVAL
                                                   )   OF CLASS ACTION SETTLEMENT;
        22                                         )   (II) CERTIFICATION OF THE CLASS;
                   ALL ACTIONS.                    )   AND (III) APPROVAL OF NOTICE TO
        23                                         )   THE CLASS, AND INCORPORATED
                                                   )   MEMORANDUM OF LAW
        24                                         )
                                                   )   JUDGE:    Honorable Cormac J. Carney
        25                                         )   DATE:     August 13, 2018
                                                   )   TIME:     1:30 p.m.
        26                                         )   DEPT:     9B
        27
        28
1452807_1                                                           LEAD PLAINTIFFS’ UNOPPOSED
                                                              MOTION FOR PRELIMINARY APPROVAL
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            1                      NOTICE OF MOTION AND MOTION
            2        Lead Plaintiffs Arkansas Teacher Retirement System (“ATRS”) and City of
            3 Miami Fire Fighters’ and Police Officers’ Retirement Trust (“Miami”) (collectively
            4 “Lead Plaintiffs”) move pursuant to Fed. R. Civ. P. 23(e) for entry of the Settling
            5 Parties’ agreed-upon Proposed Order Preliminarily Approving Settlement and
            6 Providing for Notice (the “Preliminary Approval Order”), attached hereto as
            7 Exhibit 1. If entered, the Preliminary Approval Order will, among other things:
            8        (1)   Preliminarily approve the proposed class action settlement for
            9              $19,000,000.00, subject to notice to the Class and later consideration of
        10                 final approval to resolve this Litigation in its entirety;
        11           (2)   Certify the Class for purposes of the Settlement and appoint Lead
        12                 Plaintiffs as Class Representatives and Lead Counsel as Class Counsel;
        13           (3)   Approve A.B. Data, Ltd. (“A.B. Data”) as Claims Administrator and
        14                 approve the form, content and manner of the class notices to Class
        15                 Members; and
        16           (4)   Schedule a hearing, and certain deadlines related thereto, on final
        17                 approval of the Settlement, proposed Plan of Allocation, and Lead
        18                 Counsel’s motion for an award of attorneys’ fees and litigation expenses.
        19           The specific terms of the proposed Settlement are set forth in the Stipulation of
        20 Settlement dated July 16, 2018 (the “Stipulation”), attached hereto as Exhibit 2.1
        21
        22
        23
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        27      1
                 All capitalized terms used herein that are not otherwise defined herein shall
        28 have the meanings provided in the Stipulation.
1452807_1                                                               LEAD PLAINTIFFS’ UNOPPOSED
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            1                             MEMORANDUM OF LAW
            2 I.     PRELIMINARY STATEMENT
            3        After more than four years of litigation, including an appeal to the Ninth
            4 Circuit, briefing on Defendants’ petition for a writ of certiorari to the Supreme Court
            5 of the United States, and significant merits discovery, and following extensive arm’s-
            6 length negotiations, the Settling Parties have reached a proposed Settlement of this
            7 securities class action in exchange for $19,000,000.00 for the benefit of the Class.2
            8 Lead Plaintiffs now request that the Court preliminarily approve the proposed
            9 Settlement. As set forth below, the Settlement is the product of good-faith, arm’s-
        10 length negotiations between experienced counsel, including under the supervision of a
        11 respected mediator, Gregory P. Lindstrom, Esq., of Phillips ADR, who is experienced
        12 in complex securities litigation. The Settlement represents a substantial recovery that
        13 falls well within the range of possible approval and is a very good result for the Class.
        14           Lead Plaintiffs also request certification of the Class for settlement purposes,
        15 and appointment of Lead Plaintiffs as Class Representatives and Lead Counsel as
        16 Class Counsel. Additionally, Lead Plaintiffs seek approval of the form and substance
        17 of the Notice of (I) Pendency of Class Action and Proposed Settlement;
        18 (II) Settlement Hearing; and (III) Motion for Attorneys’ Fees and Expenses
        19 (“Notice”); Proof of Claim and Release form (“Proof of Claim” or “Claim Form”);
        20 and the Summary Notice of (I) Pendency of Class Action and Proposed Settlement;
        21      2
                   “Class” means all Persons or entities who purchased or otherwise acquired QSI
        22 common stock during the Class Period and were damaged thereby. Excluded from the
           Class are (a) Defendants; (b) immediate family members of the individual Defendants
        23 (as defined in 17 C.F.R. §229.404 Instructions (1)(a)(iii) and (1)(b)(ii)); (c) present or
        24 former executive officers or directors of QSI and their immediate family members (as
           defined in 17 C.F.R. §229.404 Instructions (1)(a)(iii) and (1)(b)(ii)); (d) any firm or
        25 entity in which any Defendant has or had a controlling interest during the Class Period;
           (e) any affiliates, parents, or subsidiaries of QSI; (f) all QSI plans that are covered by
        26 ERISA; and (g) the legal representatives, agents, affiliates, heirs, beneficiaries,
        27 successors-in-interest, or assigns of any excluded Person, in their respective capacity as
           such. Also excluded from the Class are those Persons who exclude themselves by
        28 submitting a request for exclusion that is accepted by the Court.
1452807_1                                                               LEAD PLAINTIFFS’ UNOPPOSED
                                                                  MOTION FOR PRELIMINARY APPROVAL
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            1 (II) Settlement Hearing; and (III) Motion for Attorneys’ Fees and Expenses
            2 (“Summary Notice”), appended as Exhibits A-1, A-2 and A-3 to the Preliminary
            3 Approval Order. Lead Plaintiffs also seek the Court’s approval of A.B. Data as
            4 Claims Administrator and the means and methods for disseminating notice of the
            5 Settlement and a finding that such notice comports with due process and the Private
            6 Securities Litigation Reform Act of 1995 (the “PSLRA”), 15 U.S.C. §78u-4, et seq.
            7        Entry of the Settling Parties’ agreed-upon proposed Preliminary Approval
            8 Order, attached hereto as Exhibit 1, will begin the process of considering the proposed
            9 Settlement by authorizing notice to the Class of the Settlement’s terms and conditions.
        10 A final approval hearing (the “Settlement Hearing”) will then be conducted so that the
        11 Settling Parties and Class Members may present evidence enabling the Court to make
        12 a final determination as to whether the Settlement is fair, reasonable, and adequate.
        13           Lead Plaintiffs submit that the $19,000,000.00 proposed Settlement is a very
        14 good result for the Class, particularly when considering the risk of a much lesser
        15 recovery, or no recovery at all, if the case proceeded through dispositive motions and
        16 trial. The Settlement was informed by a comprehensive investigation, motion practice
        17 and appellate review of the sufficiency of the Amended Complaint’s allegations,
        18 significant discovery by the Settling Parties, and intensive arm’s-length negotiations
        19 during mediation before Mr. Lindstrom, an experienced neutral, personally attended
        20 by a representative of Lead Plaintiff ATRS. For the reasons stated herein, Lead
        21 Plaintiffs respectfully request that the Court grant this unopposed motion.
        22           If the Court grants preliminary approval of the Settlement, notice will be given
        23 to the Class, informing Members of their right to object or opt out of the Class and of
        24 the date set for the final Settlement Hearing. In advance of the final Settlement
        25 Hearing, Lead Plaintiffs will submit comprehensive final approval papers that set forth
        26 the full record for the Court. These papers will include Lead Plaintiffs’ motion for
        27 final approval of the proposed Settlement and Lead Counsel’s motion for an award of
        28 attorneys’ fees and litigation expenses, along with detailed supporting declarations.
1452807_1                                                               LEAD PLAINTIFFS’ UNOPPOSED
                                                                  MOTION FOR PRELIMINARY APPROVAL
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            1 II.    OVERVIEW OF THE LITIGATION
            2        This securities fraud class action was commenced with the filing of an initial
            3 complaint on November 19, 2013. ECF No. 1. Following briefing, and pursuant to
            4 the PSLRA, on February 4, 2014, the Court appointed Miami and ATRS as Lead
            5 Plaintiffs for the proposed class and approved Lead Plaintiffs’ selection of Robbins
            6 Geller Rudman & Dowd LLP (“RGRD”) and Bernstein Litowitz Berger & Grossmann
            7 LLP (“Bernstein Litowitz”) as Lead Counsel. ECF No. 22.
            8        On April 7, 2014, Lead Plaintiffs filed an Amended Complaint (the “Amended
            9 Complaint”). ECF No. 26. The Amended Complaint generally alleged that during the
        10 14-month Class Period, from May 26, 2011 through July 25, 2012, inclusive,
        11 Defendants made a series of material misrepresentations concerning QSI’s current and
        12 projected sales and financial performance. The Amended Complaint alleged that
        13 Defendants’ misrepresentations violated Sections 10(b) and 20(a) of the Securities
        14 Exchange Act of 1934 (“Exchange Act”). The Amended Complaint also alleged
        15 insider trading violations under Section 10(b) of the Exchange Act and Rule 10b-5
        16 against Defendant Plochocki. The Amended Complaint was based upon a thorough
        17 pre-filing investigation conducted by Lead Counsel that included, among other things,
        18 a review and analysis of: (i) QSI’s public filings with the SEC; (ii) research reports
        19 regarding QSI and the medical practice management software industry and market by
        20 securities and financial analysts; (iii) transcripts of QSI earnings conference calls and
        21 presentations; (iv) economic analysis of the price movement in QSI common stock;
        22 (v) information obtained from former QSI employees; and (vi) other publicly
        23 available material and data.
        24           On June 20, 2014, Defendants filed a motion to dismiss the Amended Complaint.
        25 ECF No. 29. Following full briefing and a hearing on the motion, in October 2014, the
        26 Court granted Defendants’ motion to dismiss with prejudice. ECF No. 39.
        27           Thereafter, on November 17, 2014, Lead Plaintiffs filed their motion for
        28 reconsideration regarding the Court’s order on Defendants’ motion to dismiss. ECF
1452807_1                                                             LEAD PLAINTIFFS’ UNOPPOSED
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            1 No. 40. After briefing was complete, on December 23, 2014, the Court took the
            2 motion under submission and on January 5, 2015, the Court denied Lead Plaintiffs’
            3 motion for reconsideration. ECF No. 46.
            4        On January 30, 2015, Lead Plaintiffs filed their Notice of Appeal with the Ninth
            5 Circuit Court of Appeals. ECF No. 47. Following briefing from the parties, the Ninth
            6 Circuit heard oral argument on December 5, 2016. On July 28, 2017, the Ninth
            7 Circuit issued its opinion, reversing and remanding the case back to the District Court.
            8 In re Quality Sys., Inc. Sec. Litig., 865 F.3d 1130 (9th Cir. 2017). On November 7,
            9 2017, Defendants filed their Answer to the Amended Complaint (ECF No. 60) and, on
        10 November 16, 2017, the Court issued a Scheduling Order (ECF No. 64) and an Order
        11 Regarding Settlement Procedures, Pre-Trial Conference and Trial. ECF No. 65.
        12           Following remand, the parties also promptly commenced discovery. Among
        13 other things, the parties exchanged initial disclosure statements pursuant to Rule 26(f)
        14 and served requests for production of documents, interrogatories, requests for
        15 admissions, subpoenas duces tecum on various non-parties, and a notice of deposition
        16 of Defendant QSI pursuant to Rule 30(b)(6). In particular, Lead Plaintiffs served 33
        17 requests for production and 21 requests for admission on Defendants. Counsel for the
        18 parties also engaged in numerous meet-and-confer discussions and exchanged written
        19 correspondence in order to address the parties’ respective objections and to reach
        20 agreement on the scope of document and deposition discovery, including negotiating
        21 search terms and custodians and discussing electronically-stored information and
        22 other sources of potentially relevant information. At the time of the Settlement,
        23 document discovery was ongoing, and Lead Plaintiffs had obtained more than 350,000
        24 pages of documents produced by Defendants and non-parties, which Lead Counsel
        25 reviewed and analyzed.
        26           On May 9, 2018, the parties participated in a full-day, in-person mediation
        27 before Gregory P. Lindstrom, Esq., of Phillips ADR. Following the mediation, the
        28 parties continued negotiations under the direction and supervision of Mr. Lindstrom.
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            1 The parties ultimately accepted the mediator’s “double-blind” recommendation and
            2 reached an agreement in principle to settle all claims asserted in this Litigation for
            3 $19,000,000.00 in cash.
            4        When settlement was reached, Defendants’ petition for a writ of certiorari to the
            5 Supreme Court was pending. On May 18, 2018, pursuant to the parties’ joint
            6 stipulation, the Court stayed all proceedings in the underlying litigation pending
            7 submission of this motion for preliminary approval of the Settlement. ECF No. 91.
            8 On June 8, 2018, the parties requested the Supreme Court defer action on the pending
            9 petition for a writ of certiorari until its next scheduled conference on September 24,
        10 2018, in light of the parties’ agreement to settle the Litigation.
        11           In sum, Lead Plaintiffs and Lead Counsel were well-informed about the
        12 strengths and weaknesses of their claims, as well as the risks of continued litigation,
        13 and had a strong foundation for negotiating the Settlement.
        14 III.      SETTLEMENT NEGOTIATIONS
        15           As noted above, on May 9, 2018, the parties participated in a full-day, in-person
        16 mediation session before Mr. Lindstrom, an independent and highly experienced
        17 neutral. Mr. Graves, the Deputy Director of Operations for ATRS, personally
        18 attended the mediation and participated in all discussions and decision-making.
        19 Likewise, a representative of Lead Plaintiff Miami was available by phone for
        20 consultation with counsel. While the parties were unable to resolve the matter during
        21 the formal mediation session, the parties continued to work with Mr. Lindstrom
        22 thereafter, continued their negotiations, and ultimately accepted the mediator’s
        23 settlement proposal to resolve the Litigation for $19,000,000.00. All negotiations
        24 were at arm’s-length and well-informed.
        25           As set forth in detail below, the parties disagreed with respect to numerous
        26 issues, including: (i) whether the alleged misstatements made or facts allegedly
        27 omitted by Defendants were material, false, misleading, or actionable; (ii) whether the
        28 Lead Plaintiffs could prove that Defendants acted with scienter; (iii) whether
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            1 Defendants’ statements were protected by the PSLRA Safe Harbor; (iv) whether the
            2 market price for QSI’s common stock was artificially inflated during the Class Period;
            3 (v) whether Defendant Plochocki’s stock sales violated the federal securities laws; and
            4 (vi) whether any of the alleged inflation and/or subsequent declines in QSI’s stock
            5 price were proximately caused by the alleged fraud. These disputed issues and related
            6 points and authorities were addressed in detail during the parties’ in-person mediation
            7 session with Mr. Lindstrom, which concluded without resolving the matter. However,
            8 the parties continued their negotiations thereafter through Mr. Lindstrom, which
            9 culminated in a mediator’s recommendation to settle the Litigation for $19,000,000.00
        10 that both parties accepted.
        11 IV.       THE PROPOSED SETTLEMENT MERITS PRELIMINARY
                     APPROVAL
        12
                     The Ninth Circuit maintains a “strong judicial policy that favors settlements,
        13
               particularly where complex class action litigation is concerned.” Johnson v. General
        14
               Mills, Inc., 2013 WL 3213832, at *2 (C.D. Cal. June 17, 2013) (quoting Class
        15
               Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992)) (citations omitted);
        16
               see also Franklin v. Kaypro Corp., 884 F.2d 1222, 1225 (9th Cir. 1989) (noting the
        17
               policy of the federal courts is to encourage settlement before trial). Moreover, courts
        18
               should defer to “‘the private consensual decision of the parties to settle’” and advance
        19
               the “overriding public interest in settling and quieting litigation.” Id. at 1229 (quoting
        20
               Van Bronkhorst v. Safeco Corp., 529 F.2d 943, 950 (9th Cir. 1976) and Rodriguez v.
        21
               W. Publishing Corp., 563 F.3d 948, 965 (9th Cir. 2009)).
        22
                     Federal Rule of Civil Procedure 23(e) requires court approval of any proposed
        23
               settlement of a class action. Judicial review of a proposed class action settlement
        24
               consists of a two-step process: (1) preliminary approval, and (2) a subsequent
        25
               settlement fairness hearing. See, e.g., Lewis v. Green Dot Corp., 2017 WL 4785978,
        26
               at *7 (C.D. Cal. June 12, 2017). “In reviewing the proposed settlement, the Court
        27
               need not address whether the settlement is ideal or the best outcome, but only whether
        28
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            1 the settlement is fair, adequate, free from collusion and consistent with Plaintiff’s
            2 fiduciary obligations to the class.” Hopson v. Hanesbrands Inc., 2008 WL 3385452,
            3 at *2 (N.D. Cal. Aug. 8, 2008).
            4         In the first step, the Court makes a preliminary evaluation of the fairness of the
            5 settlement before directing that notice be given to the class. Preliminary approval is
            6 appropriate if “(1) the proposed settlement appears to be the product of serious,
            7 informed, non-collusive negotiations, (2) has no obvious deficiencies, (3) does not
            8 improperly grant preferential treatment to class representatives or segments of the
            9 class, and (4) falls with[in] the range of possible approval.” Dilts v. Penske Logistics,
        10 LLC, 2014 WL 12515159, at *2 (S.D. Cal. July 11, 2014). To grant preliminary
        11 approval of a class action settlement, the court need only find that the settlement is
        12 within “the range of reasonableness” to justify providing notice of the settlement to
        13 class members and scheduling a final approval hearing. In re Tableware Antitrust
        14 Litig., 484 F. Supp. 2d 1078, 1079-80 (N.D. Cal. 2007).
        15            Thus, at this point, the Court need not answer the ultimate question: whether the
        16 Settlement is fair, reasonable, and adequate. When the Court makes that ultimate
        17 determination at a later point, after Class Members have received notice and an
        18 opportunity to be heard, the Court will be asked to review the following factors: “the
        19 strength of the plaintiffs’ case; the risk, expense, complexity, and likely duration of
        20 further litigation; the risk of maintaining class action status throughout the trial; the
        21 amount offered in settlement; the extent of discovery completed and the stage of the
        22 proceedings; the experience and views of counsel; the presence of a governmental
        23 participant; and the reaction of the class members to the proposed settlement.” Hanlon
        24 v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998) (citing Torrisi v. Tucson Elec.
        25 Power Co., 8 F.3d 1370, 1375 (9th Cir. 1993), quoting Officers for Justice v. Civil Serv.
        26 Comm’n of City and Cty. of S.F., 688 F.2d 615, 625 (9th Cir. 1982)).
        27            Here, Lead Plaintiffs request only that the Court take the first step in the
        28 settlement approval process and grant preliminary approval of the Settlement such that
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            1 notice of the Settlement can be sent to the Class. As summarized below, and as will
            2 be detailed further in a subsequent motion for final approval of the Settlement
            3 supported by detailed declarations, the factors considered by courts in granting final
            4 approval of class action settlements show that this Settlement is well within the range
            5 of possible approval, and therefore warrants preliminary approval.
            6          A.        The Settlement Is the Result of Good Faith, Arm’s-Length
                                 Negotiations by Well-Informed and Experienced Counsel
            7
                       Courts give considerable weight to the opinion of experienced and informed
            8
                counsel in evaluating a proposed class action settlement. See, e.g., Nunez v. BAE Sys.
            9
                San Diego Ship Repair Inc., 292 F. Supp. 3d 1018, 1039 (S.D. Cal. 2017).
        10
                Accordingly, “a presumption of fairness, adequacy, and reasonableness may attach to
        11
                a class settlement reached in arms-length negotiations between experienced, capable
        12
                counsel after meaningful discovery.” MANUAL FOR COMPLEX LITIGATION §30.42, at
        13
                240 (3d ed. 1995); see also In re Pac. Enters. Sec. Litig., 47 F.3d 373, 378 (9th Cir.
        14
                1995) (“Parties represented by competent counsel are better positioned than courts to
        15
                produce a settlement that fairly reflects each party’s expected outcome in the
        16
                litigation.”).    “A settlement is presumed to be fair if reached in arms-length
        17
                negotiations after relevant discovery has taken place.” Pataky v. Brigantine, Inc.,
        18
                2018 WL 3020159, at *3 (S.D. Cal. June 18, 2018) (citing Cohorst v. BRE Prop., Inc.,
        19
                2011 WL 7061923, *12 (S.D. Cal. Nov. 14, 2011)); In re Heritage Bond Litig., 2005
        20
                WL 1594403, at *9 (C.D. Cal. June 10, 2005) (“A presumption of correctness is said
        21
                to ‘attach to a class settlement reached in arm’s-length negotiations between
        22
                experienced capable counsel after meaningful discovery.’”).
        23
                       As noted above, the Settlement was achieved only after an all-day, in-person
        24
                mediation session, followed by additional arm’s-length negotiations, overseen by an
        25
                experienced mediator. As part of those discussions, Lead Counsel and Defendants’
        26
                Counsel prepared and presented several submissions concerning, among other things,
        27
                their respective views regarding the merits of the Litigation, including the evidence
        28
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            1 adduced during discovery, Defendants’ defenses, and issues relating to damages.
            2 After intensive back-and-forth negotiations, the parties reached an agreement in
            3 principle to settle the Litigation for $19,000,000.00 in accordance with the mediator’s
            4 recommendation.
            5        In addition, the parties and their counsel were informed and knowledgeable
            6 about the strengths and weaknesses of the case prior to reaching the agreement to
            7 settle. Lead Plaintiffs had conducted an extensive investigation prior to drafting and
            8 filing the Amended Complaint, which included interviews with former QSI employees
            9 and a thorough review of publicly available information; had briefed Defendants’
        10 motion to dismiss, Lead Plaintiffs’ motion for reconsideration, Defendants’ appeal to
        11 the Ninth Circuit, and Defendants’ petition for a writ of certiorari to the Supreme
        12 Court; had consulted with their damages and loss causation expert; had reviewed and
        13 analyzed over 350,000 pages of documents produced by the Defendants and third
        14 parties in discovery, as well as numerous transcripts of depositions taken in related
        15 litigation3; and had the benefit of the parties’ mediation submissions setting forth their
        16 arguments on liability, loss causation, and damages.
        17           As a result, Lead Plaintiffs and Lead Counsel had a solid basis for assessing the
        18 strength of the Class’s claims and Defendants’ defenses when they entered into the
        19 Settlement. Lead Counsel have decades of experience prosecuting securities class
        20 actions, as numerous courts around the country have recognized. See Firm Resumes,
        21 previously filed as ECF No. 14-4 at 2-67 (RGRD) and ECF No. 8-1 at 15-66
        22 (Bernstein Litowitz). Additionally, Lead Plaintiffs are institutional investors who
        23 oversaw the Litigation and authorized the Settlement.
        24           Accordingly, this Court should give considerable weight to Lead Counsel’s
        25 judgment that this Settlement is in the best interests of the Class, especially where the
        26 settlement process was supervised by Mr. Lindstrom, an experienced mediator.
        27      3
                 Hussein v. Quality Sys., Inc., et al., Case No. 30-2013-00679600-CU-NP-CJC
        28 (Super. Ct. Cal., Cty. of Orange).
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            1 Courts have recognized that “‘[t]he assistance of an experienced mediator in the
            2 settlement process confirms that the settlement is non-collusive’” and “weighs in
            3 favor of preliminary approval.” Pederson v. Airport Terminal Servs., 2018 WL
            4 2138457, at *7 (C.D. Cal. Apr. 5, 2018) (quoting Satchell v. Fed. Express Corp., 2007
            5 WL 1114010, at *4 (N.D. Cal. Apr. 13, 2007)); see also Kmiec v. Powerwave Techs.,
            6 Inc., 2015 WL 12914343, at *5 (C.D. Cal. Dec. 4, 2015) (same). Here, Mr. Lindstrom
            7 played an active role in exploring with the Parties the relevant issues, including the
            8 merits of Lead Plaintiffs’ claims and Defendants’ numerous affirmative defenses, the
            9 discovery conducted to date, as well as the risks of continued litigation and
        10 Defendants’ pending writ petition. Moreover, the fact that the Settlement Amount,
        11 $19,000,000.00, was recommended by the mediator and accepted “double-blind” (i.e.,
        12 without knowing the other party’s response) by the parties further supports a finding
        13 of non-collusive negotiations and reasonableness. See, e.g., Roberti v. OSI Sys. Inc.,
        14 2015 WL 8329916, at *3 (C.D. Cal. Dec. 8, 2015) (approving settlement reached after
        15 parties accepted mediator’s “double-blind Mediator’s Recommendation”).
        16            B.     The Substantial Benefits for the Class, Weighted Against
                             the Litigation Risks, Support Preliminary Approval
        17
                      Defendants have agreed to settle this Litigation for $19,000,000.00 in cash. This
        18
               substantial recovery provides a significant and immediate benefit to the Class, especially
        19
               in light of the risks posed by continued litigation. While Lead Plaintiffs were prepared
        20
               to continue litigating and eventually go to trial in their case against Defendants, and
        21
               remain confident in their ability to ultimately prove their claims, further litigation and a
        22
               trial is always a risky proposition. See, e.g., Salazar v. Midwest Servicing Grp., Inc.,
        23
               2018 WL 3031503, at *6 (C.D. Cal. June 4, 2018) (a settlement agreement’s
        24
               “elimination of risk, delay, and further expenses weighs in favor of approval”). Indeed,
        25
               complex securities fraud class actions such as this one present myriad risks that plaintiffs
        26
               must overcome in order to ultimately secure a recovery. See, e.g., In re Oracle Corp.
        27
               Sec. Litig., 627 F.3d 376, 395 (9th Cir. 2010) (affirming summary judgment in favor of
        28
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            1 defendants where plaintiff failed to establish a triable issue on loss causation); In re
            2 Scientific Atlanta, Inc. Sec. Litig., 754 F. Supp. 2d 1339, 1376 (N.D. Ga. 2010) (granting
            3 summary judgment where plaintiffs failed to “disentangle” fraud- and non-fraud-related
            4 causes of losses); In re Neopharm, Inc. Sec. Litig., 705 F. Supp. 2d 946, 966 (N.D. Ill.
            5 2010) (granting partial summary judgment where plaintiffs failed to prove material
            6 falsity or scienter); In re Zonagen, Inc. Sec. Litig., 322 F. Supp. 2d 764, 783 (S.D. Tex.
            7 2003) (granting summary judgment where plaintiffs failed to establish loss causation).
            8 While plaintiffs must prove all elements of their claims to prevail, defendants need only
            9 succeed on one defense to potentially defeat the entire action. See, e.g., In re REMEC
        10 Inc. Sec. Litig., 702 F. Supp. 2d 1202, 1275 (S.D. Cal. 2010) (granting summary
        11 judgment and dismissing action with prejudice, finding “[b]ecause loss causation is an
        12 element Plaintiffs must prove to succeed on either of their two causes of action,
        13 dismissal of both claims is appropriate”); In re Williams Sec. Litig., 496 F. Supp. 2d
        14 1195, 1295 (N.D. Okla. 2007), aff’d sub nom. In re Williams Sec. Litig.-WCG Subclass,
        15 558 F.3d 1130 (10th Cir. 2009) (“Because summary judgment is appropriate on the
        16 issues of loss causation and damages, plaintiffs cannot establish the essential elements of
        17 their §10(b) and Rule 10b–5 claim and therefore cannot prevail on their claims against
        18 any of the defendants.”).
        19            Although Lead Plaintiffs and their counsel believe their case to be strong, they
        20 acknowledge that Defendants advanced several formidable arguments disputing
        21 liability and damages. Moreover, Defendants continued to challenge the sufficiency
        22 of Lead Plaintiffs’ Amended Complaint. Here, the Court granted with prejudice
        23 Defendants’ motion to dismiss the Amended Complaint. In re Quality Sys., Inc. Sec.
        24 Litig., 60 F. Supp. 3d 1095, 1098 (C.D. Cal. 2014), rev’d and remanded, 865 F.3d
        25 1130 (9th Cir. 2017). Lead Plaintiffs appealed that decision and, on July 28, 2017, the
        26 Ninth Circuit Court of Appeals issued an opinion, reversing and remanding the case to
        27 this Court.       Quality Sys., 865 F.3d at 1136.        However, on January 26, 2018,
        28 Defendants filed their petition for a writ of certiorari to the Supreme Court. On
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            1 March 26, 2018, Lead Plaintiffs filed their opposition to Defendants’ petition and, on
            2 April 10, 2018, Defendants filed their reply. Accordingly, at the time the Settlement
            3 was reached, Defendants’ petition remained pending, adding to the risk of further
            4 delay, erosion, or termination of the Litigation altogether.
            5        Defendants raised numerous merits-based challenges disputing the falsity and
            6 materiality of their alleged misstatements. Defendants maintained that at least seven of
            7 the alleged misstatements were “free-standing” forward-looking statements protected
            8 by the PSLRA safe harbor and, therefore, not actionable under the Ninth Circuit’s
            9 decision. Quality Sys., 865 F.3d 1130. Additionally, Defendants challenged whether
        10 certain other alleged misstatements had a “price impact” – i.e., inflated QSI’s stock
        11 price under the Supreme Court’s decision in Halliburton Co. v. Erica P. John Fund,
        12 Inc., 134 S. Ct. 2398, 2416 (2014) (“Price impact is [] an essential precondition for any
        13 Rule 10b-5 class action.”). Defendants further argued that the evidence would not
        14 support a finding that the alleged misstatements were made with the requisite scienter –
        15 “intentionally or with deliberate recklessness.” Zucco Partners, LLC v. Digimarc
        16 Corp., 552 F.3d 981, 991 (9th Cir. 2009). Finally, even if Lead Plaintiffs established
        17 liability, the parties would have also hotly contested loss causation and damages.
        18 Defendants would continue to argue that the alleged corrective disclosures on May 7,
        19 May 8, May 10, and July 26, 2012, were not “corrective” because they did not reveal
        20 that any alleged misstatement was false and misleading when made. Each of these
        21 issues would have been heavily contested if the Litigation continued and each presented
        22 significant obstacles to Lead Plaintiffs’ success at summary judgment or trial. See, e.g.,
        23 Weeks v. Kellogg Co., 2013 WL 6531177, at *13 (C.D. Cal. Nov. 23, 2013) (“The fact
        24 that this issue, which is at the heart of plaintiffs’ case, would have been the subject of
        25 competing expert testimony suggests that plaintiffs’ ability to prove liability was
        26 somewhat unclear; this favors a finding that the settlement is fair.”).
        27           Moreover, Lead Plaintiffs would need to prevail on all matters at class
        28 certification, summary judgment and pretrial motions, trial, and subsequent appeals, a
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            1 process that could possibly extend for years. Settlement is favored where, as here, the
            2 case is “‘complex and likely to be expensive and lengthy to try’” and presents
            3 numerous risks beyond the “‘inherent risks of litigation.’” Low v. Trump Univ., LLC,
            4 246 F. Supp. 3d 1295, 1301 (S.D. Cal. 2017) (quoting Rodriguez, 563 F.3d at 966 and
            5 Torrisi, 8 F.3d at 1376).
            6         The Settlement balances the risks, costs, and delay inherent in complex cases
            7 evenly with respect to all parties. Thus, the benefits created by the Settlement weigh
            8 heavily in favor of granting the motion for preliminary approval. Lead Plaintiffs
            9 respectfully submit that, considering the risks of continued litigation and the time and
        10 expense which would be incurred to prosecute the Litigation through a trial, the
        11 $19,000,000.00 Settlement represents a meaningful recovery that is in the best
        12 interests of the Class.
        13            C.     The Stage of the Proceedings at Which the Settlement Was
                             Achieved Supports Preliminary Approval
        14
                      The stage of the proceedings also supports preliminary approval of the
        15
                Settlement. As will be further detailed in Lead Plaintiffs’ final approval papers and
        16
                supporting declarations, Lead Plaintiffs’ decision to enter into the Settlement was based
        17
                on their thorough understanding of the strengths and weaknesses of their claims and
        18
                Defendants’ defenses. This understanding was based on Lead Counsel’s diligent
        19
                prosecution of the Litigation, which included, among other things: (i) drafting the
        20
                consolidated complaints subject to the heightened pleading standards of the PSLRA;
        21
                (ii) conducting an extensive factual investigation, including identifying, contacting and
        22
                interviewing percipient witnesses with direct knowledge of the facts; (iii) consulting
        23
                with experts; (iv) opposing Defendants’ motion to dismiss; (v) successfully appealing
        24
                the Court’s decision granting Defendants’ motion to dismiss with prejudice;
        25
                (vi) opposing Defendants’ writ petition; (vii) conducting extensive fact discovery,
        26
                which included seeking and obtaining over 350,000 pages of documents from
        27
                Defendants and various third parties, as well as preparing for a Rule 30(b)(6) deposition
        28
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            1 of QSI; (viii) drafting interrogatories and requests for admission; and (ix) preparing for
            2 and participating in a mediation session before a mediator with experience in securities
            3 class actions and additional settlement negotiations. There can be no question that, at
            4 the time the Settlement was reached, Lead Plaintiffs and their counsel had a clear view
            5 of the strengths and weaknesses of the claims and defenses.
            6         Lead Plaintiffs respectfully submit that this is a very good result that further
            7 supports the fairness, reasonableness, and adequacy of the Settlement, especially
            8 given that Lead Plaintiffs still faced significant hurdles in the prosecution of this
            9 Litigation. The Settlement’s $19,000,000.00 cash recovery is well within the range of
        10 reasonableness, compares very favorably against other securities class action
        11 settlements in recent years,4 and achieves the certainty of a substantial recovery to the
        12 Class. Thus, preliminary approval is warranted.
        13 V.         CERTIFICATION OF THE CLASS FOR PURPOSES OF THE
                      SETTLEMENT IS APPROPRIATE
        14
                      Under the terms of the Stipulation, Defendants have agreed, for the sole purpose
        15
                of settlement and without adjudication of the merits, to certification of the Class. As
        16
                this Court has recognized, “class actions are an effective way to pursue shareholders’
        17
                actions for securities fraud” and “‘[t]he availability of the class action to redress such
        18
                frauds has been consistently upheld, in large part because of the substantial role that
        19
                the deterrent effect of class actions plays in accomplishing the objectives of the
        20
                securities laws.’” In re Cooper Cos. Inc. Sec. Litig., 254 F.R.D. 628, 642 (C.D. Cal.
        21
        22      4
                       For example, a study of such settlements by NERA Economic Consulting, a
                firm that frequently provides damages expertise to defendants in securities cases,
        23      reported that since the passage of the PSLRA, between January 1996 and December
        24      2016, median settlement amounts in securities class actions ranged from $3.7 million
                to $12.3 million. See Stefan Boettrich and Svetlana Starykh, Recent Trends in
        25      Securities Class Action Litigation: 2016 Full-Year Review, at 31 (NERA Jan. 2017).
                A recent study by Cornerstone Research reported that approximately 80 percent of
        26      post–PSLRA settlements have settled for under $25 million. See Laarni T. Bulan,
                Ellen M. Ryan and Lauren E. Simmons, Securities Class Action Settlements: 2017
        27      Review and Analysis, at 5 (Cornerstone Research 2018). Within the Ninth Circuit
                specifically, Cornerstone Research reported that between 2008 and 2017, the median
        28      securities class action settlement amount was $8 million. Id. at 20.
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            1 2009) (quoting Blackie v. Barrack, 524 F.2d 891, 903 (9th Cir. 1975)).
            2        A settlement class, like other certified classes, must satisfy all of the
            3 requirements of Rule 23(a): (1) numerosity; (2) commonality; (3) typicality; and
            4 (4) adequacy of representation, and one of the three requirements of Rule 23(b).
            5 Amchem Prods. v. Windsor, 521 U.S. 591, 614 (1997). Lead Plaintiffs submit that the
            6 Class satisfies each of the requirements as set forth below.
            7        A.     The Requirements of Rule 23(a) Are Met
            8               1.    Numerosity Is Established
            9        The numerosity requirement is met where the party seeking certification shows
        10 the class is “so numerous that joinder of all members is impracticable.” Fed. R. Civ.
        11 P. 23(a)(1). This does not mean that joinder is impossible, but rather “only that the
        12 court must find that the difficulty or inconvenience of joining all members of the class
        13 makes class litigation desirable.” McCulloch v. Baker Hughes Inteq Drilling Fluids,
        14 Inc., 2017 WL 2257130, at *7 (E.D. Cal. May 23, 2017). “No exact numerical cut-off
        15 is required; rather, the specific facts of each case must be considered.” Cooper, 254
        16 F.R.D. at 634 (citing Gen. Tel. Co. of N.W., Inc. v. Equal Emp. Opportunity Comm’n,
        17 446 U.S. 318, 330 (1980)). “As a general matter, courts have found that numerosity is
        18 satisfied when class size exceeds 40 members.” Moore v. Ulta Salon, Cosmetics &
        19 Fragrance, Inc., 311 F.R.D. 590, 602-03 (C.D. Cal. 2015); see also Tait v. BSH Home
        20 Appliances Corp., 289 F.R.D. 466, 473 (C.D. Cal. 2012) (same). Also, numerosity “is
        21 generally assumed to have been met in class action suits involving nationally traded
        22 securities.” Brown v. China Integrated Energy Inc., 2015 WL 12720322, at *14 (C.D.
        23 Cal. Feb. 17, 2015) (citations omitted) (alterations in original).
        24           Here, the Class meets the numerosity requirement of Rule 23(a)(1). QSI’s
        25 common stock traded globally on the NASDAQ at all times during the Class Period
        26 under the symbol “QSII.” There were approximately 57 million to 59 million shares
        27 of QSI common stock outstanding during the Class Period, with more than 375
        28 institutional investors reporting holdings in QSI. In addition, QSI had an average
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            1 weekly trading volume of 2.9 million shares during the Class Period. Thus, the
            2 Members of the Class are so numerous that their joinder would be impracticable.
            3 “District courts have consistently found a proposed class to be sufficiently numerous
            4 in securities fraud cases where ‘several million shares of stock were purchased during
            5 the class period.’” In re Intuitive Surgical Sec. Litig., 2016 WL 7425926, at *4 (N.D.
            6 Cal. Dec. 22, 2016) (citation omitted), reconsideration denied, 2017 WL 4355072
            7 (N.D. Cal. Sept. 29, 2017) (proposed class sufficiently numerous where defendant had
            8 between 39 million and 40 million shares of outstanding stock during the class
            9 period). Accordingly, the numerosity requirement is met here.
        10                  2.    Commonality Is Established
        11           Rule 23(a)(2) requires a showing that there are “questions of law or fact
        12 common to the class.” Fed. R. Civ. P. 23(a)(2). Sufficient commonality exists where
        13 class members “suffered the same injury” and their claims “depend upon a common
        14 contention” that is capable of class-wide resolution. Wal-Mart Stores, Inc. v. Dukes,
        15 564 U.S. 338, 350 (2011). “This does not, however, mean that every question of law
        16 or fact must be common to the class: all Rule 23(a)(2) requires is ‘a single significant
        17 question of law or fact.’” Abdullah v. U.S. Sec. Assocs., Inc., 731 F.3d 952, 957 (9th
        18 Cir. 2013) (quoting Mazza v. Am. Honda Motor Co., 666 F.3d 581, 589 (9th Cir.
        19 2012)) (emphases in original). “Commonality, like numerosity, is a prerequisite
        20 which plaintiffs generally, and which Plaintiffs here, satisfy very easily.” In re
        21 VeriSign, Inc. Sec. Litig., 2005 WL 7877645, at *5 (N.D. Cal. Jan. 13, 2005).
        22           Here, Class Members have suffered a common injury—losses on their
        23 investments in QSI common stock—and their claims depend upon numerous common
        24 issues capable of class-wide resolution, including: (i) whether Defendants’ alleged
        25 misrepresentations and omissions violated the Exchange Act; (ii) whether Defendants’
        26 alleged misrepresentations and omissions were materially false and misleading;
        27 (iii) whether Defendants acted knowingly or recklessly (i.e., with scienter);
        28 (iv) whether the individual Defendants controlled QSI and its violations of the
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            1 securities laws; (v) whether the market price of QSI’s common stock was artificially
            2 inflated as a result of Defendants’ alleged misrepresentations and omissions;
            3 (vi) whether Defendants’ misrepresentations and omissions caused Class Members to
            4 suffer a compensable loss; and (vii) whether the Members of the Class have sustained
            5 damages, and the proper measure of damages.
            6        These issues provide more than sufficient commonality. See, e.g., Brown, 2015
            7 WL 12720322, at *14 (plaintiffs’ allegations that defendant company “made various
            8 misstatements in its SEC filings, Registration Statement, press releases, and public
            9 statements” are “enough to satisfy the commonality requirement”); In re Juniper
        10 Networks, Inc. Sec. Litig., 264 F.R.D. 584, 588 (N.D. Cal. 2009) (“Repeated
        11 misrepresentations by a company to its stockholders satisfy the commonality
        12 requirement of Rule 23(a)(2).”); Cooper, 254 F.R.D. at 635 (allegations that defendants
        13 violated the Exchange Act, knowingly misrepresented material facts, and caused the
        14 defendant company’s stock price to be artificially inflated were “common questions”
        15 that “form the core of a case for securities fraud” and are “extremely similar to
        16 questions of law and fact that other courts have found to be common in previous
        17 securities fraud cases”). Accordingly, Lead Plaintiffs have established commonality.
        18                 3.     Typicality Is Established
        19           Rule 23(a)(3) requires that the proposed class representative’s claims be
        20 “typical” of the claims of the class. Brown, 2015 WL 12720322, at *4. “[T]he Ninth
        21 Circuit does not require the named Plaintiffs’ injuries to be ‘identical with those of the
        22 other class members, [but] only that the unnamed class members have injuries similar
        23 to those of the named plaintiffs and that the injuries result from the same injurious
        24 conduct.”‘ Id. (quoting Cooper, 254 F.R.D. at 635). “The purpose of the typicality
        25 requirement is to ‘assure that the interest of the named representative aligns with the
        26 interests of the class.”‘ Intuitive Surgical, 2016 WL 7435926, at *5 (quoting Hanon v.
        27 Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992)).
        28
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            1         Here, Lead Plaintiffs’ claims are “typical” of other Class Members’ claims
            2 because they arise out of the same alleged conduct and, like other Members of the
            3 Class, they all allege that they purchased QSI common stock during the Class Period
            4 at artificially inflated prices due to Defendants’ material misstatements and omissions
            5 regarding QSI’s current and prospective sales and financial condition, and were
            6 damaged when the truth emerged. Thus, both the Lead Plaintiffs and the Class assert
            7 the same legal claims, which relate to the adequacy of such public statements and will
            8 rely on the same facts and legal theories to establish liability. In re Emulex Corp. Sec.
            9 Litig., 210 F.R.D. 717, 719 (C.D. Cal. 2002) (class representative’s claims are typical
        10 where they arise from the same conduct and are based on the same legal theory as
        11 other class members). Accordingly, the typicality requirement is established.
        12                  4.     The Lead Plaintiffs and Lead Counsel Are Adequate
        13            Under Rule 23(a)(4), Lead Plaintiffs must “fairly and adequately protect the
        14 interests of the class.” Fed. R. Civ. P. 23(a)(4). “Under Ninth Circuit precedent,
        15 adequacy depends on the resolution of two questions: (1) whether ‘the named
        16 plaintiffs and their counsel have any conflicts of interest with other class members,’
        17 and (2) whether ‘the named plaintiffs and their counsel [will] prosecute the action
        18 vigorously on behalf of the class.’” Brown, 2015 WL 12720322, at *15 (quoting
        19 Hanlon, 150 F.3d at 1020). There is “considerable overlap” between the adequacy and
        20 typicality requirements of Rule 23(a). Cooper, 254 F.R.D. at 636; see also In re
        21 LendingClub Sec. Litig., 282 F. Supp. 3d 1171, 1182 (9th Cir. 2017) (Rule 23(a)(4)’s
        22 requirement is “modest.”).
        23            Lead Plaintiffs and Lead Counsel readily satisfy adequacy. First, based upon
        24 their purchases of QSI common stock during the Class Period and the losses suffered as
        25 a result of Defendants’ misconduct, Lead Plaintiffs’ interests are directly aligned with—
        26 rather than “antagonistic” to—the interests of other Class Members, who were injured
        27 by the same alleged materially false and misleading statements and omissions as Lead
        28 Plaintiffs. Second, there is no evidence of conflicts of interest between Lead Plaintiffs
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            1 and the Class. See Juniper Networks, 264 F.R.D. at 590 (finding that lead plaintiffs
            2 were adequate representatives because there was no evidence of conflicts of interest
            3 between the lead plaintiffs and the class). Moreover, Lead Plaintiffs are pension funds,
            4 overseeing millions of dollars in assets under management belonging to retired public
            5 servants, and are precisely the type of institutional investors that Congress sought to
            6 ensure served in leadership roles in securities class actions when enacting the PSLRA.
            7 See H.R. Rep. No. 104-369, at 34 (1995) (Conf. Rep.), as reprinted in 1995
            8 U.S.C.C.A.N. 730, 733. Finally, as institutional investors, Lead Plaintiffs are aware of
            9 and understand the fiduciary obligations they owe to the Class, and have faithfully
        10 executed those duties to date in their supervision and direction of this Litigation.
        11           Lead Plaintiffs have also retained experienced counsel, receive regular status
        12 updates from their lawyers, and participate in strategic decisions. As discussed above,
        13 Lead Plaintiffs’ selected counsel – Bernstein Litowitz and RGRD – are qualified and
        14 experienced, who have a demonstrated record of vigorously prosecuting this
        15 Litigation, and satisfy the requirements of Rule 23(g). By the time the Settlement was
        16 reached, Lead Counsel were informed of the strengths and weaknesses of Lead
        17 Plaintiffs’ claims through their investigation prior to filing the Amended Complaint,
        18 briefing related to the sufficiency of the Amended Complaint, and reviewing and
        19 analyzing significant discovery. They applied this knowledge to engage in a rigorous
        20 negotiation process. Lead Counsel are skilled and experienced litigators who were
        21 able to develop the case and convince Defendants and their insurers to settle on terms
        22 favorable to the Class. Thus, the adequacy requirement is satisfied.
        23           B.     The Requirements of Rule 23(b)(3) Are Met
        24           A party seeking class certification must also satisfy one of the three subparts of
        25 Rule 23(b). Pursuant to Rule 23(b)(3), the Court must consider: (1) whether questions of
        26 law or fact common to class members predominate over questions affecting only
        27 individual members; and (2) whether a class action is superior to other available methods
        28 for the fair and efficient adjudication of the controversy. Fed. R. Civ. P. 23(b)(3).
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            1               1.    Common Questions Predominate
            2        The predominance inquiry of Rule 23(b)(3) asks whether “questions of law or
            3 fact common to class members predominate over any questions affecting only
            4 individual members.” Fed. R. Civ. P. 23(b)(3). “[T]he predominance inquiry focuses
            5 on ‘whether proposed classes are sufficiently cohesive to warrant adjudication by
            6 representation.’” Hatamian v. Advanced Micro Devices, Inc., 2016 WL 1042502, at
            7 *3 (N.D. Cal. Mar. 16, 2016) (citation omitted). For a class to be sufficiently
            8 cohesive, the common questions must “present a significant aspect of the case” and be
            9 capable of resolution “for all members of the class in a single adjudication.” Brown,
        10 2015 WL 12720322, at *15. “That the defendant might attempt to pick off the
        11 occasional class member here or there through individualized rebuttal does not cause
        12 individual questions to predominate.” Halliburton, 134 S. Ct. at 2412. Finally, the
        13 predominance requirement is “readily met” in securities class actions. Amchem, 521
        14 U.S. at 625; see also Cooper, 254 F.R.D. at 632 (“As the Ninth Circuit has so aptly
        15 stated, securities cases fit Rule 23 ‘like a glove.’”).
        16           Here, the common questions identified in §V.A.2. above clearly predominate
        17 over individual questions because Defendants’ alleged fraudulent statements and
        18 omissions affected all Class Members in the same manner (i.e., through public
        19 statements made to the market and documents publicly filed with the United States
        20 Securities and Exchange Commission (“SEC”)). To establish liability under Section
        21 10(b), Lead Plaintiffs must show: “(1) a material misrepresentation or omission of
        22 fact; (2) scienter; (3) a connection with the purchase or sale of a security;
        23 (4) transaction and loss causation [“transaction causation” being used interchangeably
        24 with “reliance”]; and (5) economic loss (damages).” Cooper, 254 F.R.D. at 638.
        25 Virtually all of these elements involve common questions of law and fact that
        26 predominate over individualized issues. Amgen Inc. v. Conn. Ret. Plans & Tr. Funds,
        27 568 U.S. 455, 468 (2013) (materiality); Erica P. John Fund, Inc. v. Halliburton Co.,
        28 563 U.S. 804, 812 (2011) (loss causation); Cooper, 254 F.R.D. at 640 (all elements).
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            1 Indeed, “when ‘a common nucleus of misrepresentations, material omissions and
            2 market manipulations [exists], the common questions predominate over any
            3 differences between individual class members with respect to damages, causation or
            4 reliance.’” Cooper, 254 F.R.D. at 639-40 (citation omitted).
            5        In securities fraud class actions, predominance is usually satisfied because the
            6 plaintiffs are entitled to rely upon a class-wide presumption of reliance on defendants’
            7 misstatements pursuant to the “fraud-on-the-market” doctrine (“FOTM”). The FOTM
            8 “holds that ‘the market price of shares traded on well-developed markets reflects all
            9 publicly available information, and, hence, any material misrepresentations.’”
        10 Halliburton, 134 S. Ct. at 2408 (affirming and quoting Basic Inc. v. Levinson, 485
        11 U.S. 224, 246-47 (1988)). Accordingly, whenever an “investor buys or sells stock at
        12 the market price, his ‘reliance on any public material misrepresentations . . . may be
        13 presumed for purposes of a Rule 10b-5 action.’” Id. (quoting Basic, 485 U.S. at 247).
        14           Here, the Court can presume that QSI’s common stock traded in an efficient
        15 market because it traded on the NASDAQ, “‘one of the two largest stock exchanges in
        16 the United States, the largest electronic-equity securities trading market in the United
        17 States, and one of the largest stock exchanges in the world.’” Smilovits v. First Solar,
        18 Inc., 295 F.R.D. 423, 430 (D. Ariz. 2013) (quoting Lumen v. Anderson, 280 F.R.D. 451,
        19 459 (W.D. Mo. 2012)). Indeed, “federal courts are unanimous in their agreement that a
        20 listing on the NASDAQ or a similar national market is a good indicator of efficiency.”
        21 Todd v. STAAR Surgical Co., 2017 WL 821662, at *6 (C.D. Cal. Jan. 5, 2017).
        22           Moreover, Lead Plaintiffs further submit there are no significant—let alone
        23 predominant—individual issues in this case. Indeed, Lead Plaintiffs submit that it is
        24 difficult to discern any liability issues not common to all Class Members. Where, as
        25 here, Class Members are subject to the same alleged misrepresentations and
        26 omissions, and it is alleged that Defendants’ misrepresentations were part of a
        27 common course of conduct, common questions predominate. If Lead Plaintiffs and
        28 each Class Member were to bring individual actions, they would each be required to
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            1 prove the same wrongdoing by Defendants in order to establish liability.
            2                2.     A Class Action Is a Superior Method of Adjudicating
                                    Lead Plaintiffs’ Claims
            3
                      The class action device is also the superior method for resolving the claims in
            4
                this Litigation. Courts have long recognized that the class action is not only a superior
            5
                method, but also may be the only feasible method to fairly and efficiently adjudicate a
            6
                controversy involving a large number of purchasers of securities injured by violations
            7
                of the securities law. See Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 809 (1985)
            8
                (noting that “most of the plaintiffs would have no realistic day in court if a class action
            9
                were not available”). “District courts have consistently recognized that the common
        10
                liability issues involved in securities fraud cases are ideally suited for resolution by
        11
                way of a class action.” Cooper, 254 F.R.D. at 641. “If united by a common core of
        12
                facts, and a presumption of reliance on an efficient market, class actions are the
        13
                superior way to litigate a case alleging violations of securities fraud.” Vinh Nguyen v.
        14
                Radient Pharms. Corp., 287 F.R.D. 563, 575 (C.D. Cal. 2012).
        15
                      Superiority under Rule 23(b)(3) turns on the following four factors: “(1) the
        16
                class members’ interests in individually controlling a separate action; (2) the extent
        17
                and nature of litigation concerning the controversy already begun by or against class
        18
                members; (3) the desirability of concentrating the litigation in the particular forum;
        19
                and (4) the manageability of a class action.” Juniper Networks, 264 F.R.D. at 592.
        20
                This Litigation readily satisfies these factors. Resolving the claims of all Class
        21
                Members through a class action is far superior to adjudicating numerous individual
        22
                suits for the many investors who purchased QSI common stock. With regard to the
        23
                first two superiority factors, the expense and burden of litigating each individual claim
        24
                compared to the potential recovery makes it unlikely that many individuals will
        25
                attempt to bring such claims. Todd, 2017 WL 821662, at *11. Nor are Lead Plaintiffs
        26
                aware of any other securities fraud actions under the Exchange Act currently pending
        27
                against Defendants related to the Amended Complaint’s allegations—indicating that
        28
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            1 individuals have a minimal interest in commencing separate actions. Moreover,
            2 concentrating the Litigation in this forum is appropriate because QSI maintains its
            3 headquarters in this district. Hatamian, 2016 WL 1042502, at *10. Finally, with
            4 respect to managing the Litigation, “this factor involves the same considerations as
            5 Rule 23(b)(3)’s predominance requirement,” and is satisfied for the reasons set forth
            6 above. Id. A class action is therefore superior here.
            7        Further, certification of the Class for settlement purposes is the superior method
            8 for resolving the claims of Lead Plaintiffs and the Class. Without the settlement class
            9 device, Defendants could not obtain a class-wide release, and therefore would have had
        10 little, if any, incentive to agree to the Stipulation. Moreover, certification of the Class
        11 for settlement purposes will allow the Settlement to be administered in an organized and
        12 efficient manner. In light of the foregoing, all of the requirements of Rules 23 are
        13 satisfied, and thus, the Court should certify this Class for purposes of the Settlement.
        14 VI.       NOTICE TO THE CLASS IS WARRANTED
        15           As outlined in the agreed-upon proposed Preliminary Approval Order, Lead
        16 Counsel will cause the Claims Administrator to notify Class Members of the Settlement
        17 by mailing the Notice and Claim Form to all Class Members who can be identified with
        18 reasonable effort. The Notice will advise Class Members of: (i) the pendency of the
        19 class action; (ii) the essential terms of the Settlement; and (iii) information regarding
        20 Lead Counsel’s motion for attorneys’ fees and litigation expenses. The Notice will also
        21 provide specifics on the date, time and place of the Settlement Hearing and set forth the
        22 procedures, as well as deadlines, for opting out of the Class, for objecting to the
        23 Settlement, the proposed Plan of Allocation and/or the motion for attorneys’ fees and
        24 litigation expenses, and for submitting a Claim Form. The proposed Preliminary
        25 Approval Order also requires Lead Counsel to cause the Summary Notice to be
        26 published once in The Wall Street Journal and once over a national newswire service.
        27 Lead Counsel will also cause a copy of the Notice and Claim Form to be readily
        28 available on the Settlement website created specifically for this Settlement.
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            1         The form and manner of providing notice to the Class satisfy the requirements
            2 of due process, Rule 23, and the PSLRA, 15 U.S.C. §78u-4(a)(7). The Notice and
            3 Summary Notice “explain in easily understood language the nature of the action,
            4 definition of the class, class claims, issues and defenses, ability to appear through
            5 individual counsel, procedure to request exclusion, and binding nature of a class
            6 judgment.” Sandoval v. Tharaldson Employee Mgmt., Inc., 2010 WL 2486346, at *11
            7 (C.D. Cal. June 15, 2010); see also Rodriguez, 563 F.3d at 962 (“Notice is satisfactory
            8 if it ‘generally describes the terms of the settlement in sufficient detail to alert those
            9 with adverse viewpoints to investigate and to come forward and be heard.’”) (citation
        10 omitted). The manner of providing notice, which includes individual notice by mail to
        11 all Class Members who can be reasonably identified, represents the best notice
        12 practicable under the circumstances and satisfies the requirements of due process and
        13 Rule 23. See, e.g., In re MGM Mirage Sec. Litig., 708 F. App’x 894, 896 (9th Cir.
        14 2017) (combination of mailing and publication “provided ‘the best practicable notice
        15 under the circumstances’”).
        16            So that Notice may be provided to the Class, the Court should approve A.B.
        17 Data as Claims Administrator as provided in paragraph 8 of the Preliminary Approval
        18 Order. A.B. Data has extensive experience administering class action settlements and
        19 is well-qualified to serve as Claims Administrator for the Settlement.
        20 VII. PROPOSED SCHEDULE OF SETTLEMENT EVENTS
        21            Lead Plaintiffs respectfully submit the following procedural schedule for the
        22 Court’s review and approval, which summarizes the deadlines in the proposed
        23 Preliminary Approval Order. The dates set forth in the right-hand column are potential
        24 dates in the event that preliminary approval is granted on or before July 23, 2018.
        25                   Event                               Proposed Deadline      Potential Date
        26 Deadline to commence mailing the Notice
           and Claim Form to potential Class                 Not later than 15
        27 Members, which date shall be the “Notice          business days after         Aug. 13, 2018
           Date”                                             entry of Preliminary
        28 (See Preliminary Approval Order ¶10)              Approval Order
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            1                       Event                       Proposed Deadline Potential Date
            2   Deadline for publishing the Summary           Not later than 7
                Notice                                        calendar days after the Aug. 20, 2018
            3   (See Preliminary Approval Order ¶11)          Notice Date
                Deadline for filing of papers in support of
            4   final approval of the Settlement, Plan of     35 calendar days prior
                Allocation, and Lead Counsel’s application    to the Settlement          Sept. 26, 2018
            5   for attorneys’ fees and expenses              Hearing
            6   (See Preliminary Approval Order ¶21)
                Deadline for receipt of exclusion requests    21 calendar days prior
            7   or objections                                 to the Settlement          Oct. 10, 2018
                (See Preliminary Approval Order ¶¶17, 19)     Hearing
            8   Deadline for submission of reply papers in
                support of final approval and attorneys’      7 calendar days prior to Oct. 24, 2018
            9   fees and expenses                             the Settlement Hearing
                (See Preliminary Approval Order ¶21)
        10      Settlement Hearing                            At least 100 days after
                (See Preliminary Approval Order ¶2) (to be    entry of the
        11      entered by the Court)                         Preliminary Approval Oct. 31, 2018
                                                              Order, or at the Court’s
        12                                                    earliest convenience
                                                              thereafter
        13 Deadline for Submitting Claim Forms                120 calendar days after Dec. 11, 2018
           (See Preliminary Approval Order ¶14(a))            the Notice Date
        14
        15 VIII. CONCLUSION
        16            For all the foregoing reasons, Lead Plaintiffs respectfully request that the Court

        17 enter the Settling Parties’ agreed-upon form of proposed Preliminary Approval Order,
        18 attached hereto as Exhibit 1: (a) certifying the proposed Class for settlement purposes;
        19 (b) holding that the manner and form of notice set forth in the Preliminary Approval
        20 Order satisfies due process and is the best notice practicable under the circumstances;
        21 (c) setting a date for the Settlement Hearing and establishing the deadlines set forth in
        22 the Preliminary Approval Order; (d) appointing A.B. Data as Claims Administrator;
        23 and (e) appointing Lead Plaintiffs as Class Representatives and Lead Counsel as Class
        24 Counsel.
        25 DATED: July 16, 2018                           Respectfully submitted,

        26                                                ROBBINS GELLER RUDMAN
                                                           & DOWD LLP
        27
        28                                                         s/ Robert R. Henssler Jr.
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            9                                           s/ David R. Stickney

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1452807_1                                                   LEAD PLAINTIFFS’ UNOPPOSED
                                                      MOTION FOR PRELIMINARY APPROVAL
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       1             CERTIFICATE PURSUANT TO LOCAL RULE 5-4.3.4
       2        I, Robert R. Henssler Jr., am the ECF User whose identification and password
       3 are being used to file Lead Plaintiffs’ Notice of Motion and Unopposed Motion for (I)
       4 Preliminary Approval of Class Action Settlement; (II) Certification of the Class; and
       5 (III) Approval of Notice to the Class, and Incorporated Memorandum of Law. In
       6 compliance with Local Rule 5-4.3.4(a)(2), I hereby attest that David R. Stickney has
       7 concurred in this filing.
       8
       9 DATED: July 16, 2018                      s/ ROBERT R. HENSSLER JR.
                                                   ROBERT R. HENSSLER JR
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  Mailing Information for a Case 8:13-cv-01818-CJC-JPR In re Quality Systems,
  Inc. Securities Litigation
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